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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

COOPER LIGHTING, LLC,               )
                                    )
                Plaintiff,          )
                                    )     Civil Action No.
     v.                             )     1:16-cv-02669-MHC
                                    )
CORDELIA LIGHTING, INC. and         )
JIMWAY, INC.,                       )
                                    )
                Defendants.         )


MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO STAY
LITIGATION PENDING PATENT OFFICE INTER PARTES REVIEW OF
             VALIDITY OF ALL PATENTS-IN-SUIT
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I.      INTRODUCTION
        Defendants Cordelia Lighting, Inc. (“Cordelia”) and Jimway, Inc. (“Jimway”)

(collectively, “Defendants”) move to stay this action pending the United States
Patent Office’s (“Patent Office”) determination of Cordelia’s inter partes review
(“IPR”) petitions challenging the validity of all of Plaintiff Cooper Lighting, LLC’s

(“Cooper”) 48 asserted patent claims.
        When considering a request to stay litigation pending the determination of
IPR petitions, Courts weigh three factors - the stage of the case, the simplification

of issues, and the potential prejudice to plaintiff. Those factors strongly favor
entering a stay in this case.
      First, the case is still in its early stage. The parties and the Court have the

        potential to reap maximum benefit from entry of a stay. Defendants and
        Cooper are still engaged in written discovery, and expert discovery has not
        started. No Markman claim construction hearing has been scheduled and no
        trial date has been set.
      Second, deferring this litigation while the IPRs proceed will likely narrow the
        issues or dispose of the case entirely, preventing duplicative and potentially

        inconsistent rulings, and conserving the time and resources of the parties and
        the Court.
      Third, a stay will not unduly prejudice Cooper or place it at a tactical

        disadvantage. It is well established that the mere delay inherent in any stay


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      does not establish undue prejudice. Cooper has demonstrated no rush to
      obtain a judicial remedy. It failed to mark the asserted patent numbers on its

      products and waited a year after learning of Defendants’ accused products
      before filing suit. Similarly, Cooper has not sought a preliminary injunction
      – an admission that there is no irreparable harm occurring while the claims

      and defenses are decided.
      Cooper’s complaint is limited to recovery for patent infringement and no other
causes of action. See Dkt. 18. Defendants have asserted a defense and counterclaim

for invalidity. Dkt. 50 at 9, 13. Thus, this case is likely to be significantly narrowed
in scope, if not completely resolved, by the pending IPR proceedings. The Court
should grant this motion and stay the litigation pending resolution of the IPRs.

II.   FACTUAL BACKGROUND
      On July 22, 2016, Cooper filed suit against Defendants alleging infringement
of four patents: U.S. Patent Nos. 8,348,477 (“the ’477 patent”); 8,348,479 (“the ’479
patent”); 8,789,978 (“the ’978 patent”), and 9,010,956 (“the ’956 patent” or “Davis
patent”) (collectively, the “patents-in-suit”). Three of the patents-in-suit – the ’477,
’479, and ’978 patents – contain the same description of the technology and claim

priority to the same provisional and initial non-provisional patent applications.
(These three patents are collectively referred to as the “Tickner patents.”) The
Tickner patents contain 40 of the 48 patent claims that Cooper has asserted in this

action. See Ex. A, Cooper’s Initial Infringement Contentions.


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      The fourth asserted patent, the Davis patent, was filed years after the Tickner
patents, and the Tickner subject matter is prior art to the Davis patent. Davis is

purportedly a mere improvement to old technology. All of the Tickner and Davis
patents relate to LED downlight fixtures, and Cooper alleges that at least some of its
commercial products are covered by both Tickner and Davis claims. See id.

      Pursuant to the Court’s Scheduling Order, the parties are in the fact discovery
phase of the case. Dkt. 21 at 18-20. The parties have exchanged written discovery,
and are still in the process of exchanging documents. No party depositions have

been scheduled.1
      Several key litigation milestones have yet to occur. No Markman claim
construction hearing or trial dates have been scheduled. See id. The Court has

ordered fact discovery to end 45 days after entry of the Markman order. Id. No
expert discovery has been scheduled or taken. Id. 2
      On July 26, 2017, Cordelia submitted IPR petitions with the Patent Office. 3
      1
         Cordelia has subpoenaed and deposed two third-party companies that were
making and selling LED downlights at least as early as 2006, prior to Cooper’s
earliest patent filing dates.
      2
        Cordelia’s Motion to Dismiss for Improper Venue in Light of TC Heartland
v. Kraft Food Brands Group, or to Transfer Pursuant to 28 U.S.C. § 1406(a) is
currently pending. See Dkt. 56.
      3
         Cooper’s counsel was notified by email of the IPR petitions that day and
served with the four IPR petitions and exhibits the following day. Cooper
subsequently filed Mandatory Notices for the petitions identifying Jones Day as
counsel of record for the IPR proceedings in the PTAB. Three of the IPR petitions
already have been accorded formal filing dates of July 26, 2017. The formal filing
date for the fourth petition is pending.

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The IPR process allows the petitioner to challenge the validity of a patent’s claims
based on prior art under 35 U.S.C. §§ 102 and 103 and the owner of the challenged

patent(s) to argue in favor of validity. 35 U.S.C. § 311. The petitioner may request
that the PTO cancel one or more of a patent's claims, but only if such claims are
obvious or anticipated by “prior art consisting of patents or printed publications.” Id.

      Cooper alleges that 48 claims of its four patents are infringed. Ex. A at 3.
Cordelia’s IPR petitions challenge the validity of those same 48 claims.4 Moreover,
each petition raises multiple grounds of invalidity. See Exs. B-E. 5 A total of 13

grounds of patent invalidity were raised: four grounds with respect to the ’477 patent
(Ex. B at 3-4); four grounds with respect to the ’479 patent (Ex. C at 3-4); two
grounds with respect to the ’956 patent (Ex. D at 3); and three grounds with respect

to the ’978 patent (Ex. E at 3). Cooper’s responses to the petitions are due later this
year. 35 U.S.C. § 313; 37 C.F.R. § 42.107.
      The Patent Office assigns IPR petitions to the Patent Trial and Appeal Board
(“PTAB”) for decision. The PTAB decides whether to proceed to a hearing on some
or all of the grounds, within six months after the petitions are filed. 35 U.S.C. § 314.
      4
        Claims 1-5, 7-16, and 18-19 of the ’477 patent are challenged in IPR2017–
01857. Claims 1-2, 4-5, 13-16 and 19-20 of the ’479 patent are challenged in
IPR2017–01858. Claims 1-2, 4-6 and 8-10 of the ’956 patent are challenged in
IPR2017–01859. Claims 1-4, 7, 9-10, 13-14 and 16-19 of the ’978 patent are
challenged in IPR2017–01860. See Exs. B-E (copies of the IPR petitions without
the accompanying exhibits).
      5
        The lengthy papers submitted herewith are in fact abbreviated versions of
the petition papers filed with the Patent Office as the declarations of Cordelia’s
expert and copies of the references were not attached.

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During the PTAB proceedings, the parties can respond to each other’s arguments
and take limited discovery, including depositions of both parties’ experts; they also

have the right to an oral hearing. 35 U.S.C. §§ 316(a)(5) (8) (10), and (13) After a
hearing, the PTAB issues a final written decision on the validity of the challenged
claims based on those grounds. 35 U.S.C. § 318. The PTAB determinations will

likely narrow the issues in the litigation, or end the litigation entirely because either
all the asserted claims are invalidated or the PTAB’s ruling clarifies the issues
sufficiently for the parties to reach a settlement.

III.   LEGAL STANDARD
       This Court has the inherent power to stay this litigation pending the conclusion
of related proceedings at the Patent Office. See Graywire, LLC v. Ciena Corp., No.

1:08-CV-2993-BBM, 2009 U.S. Dist. LEXIS 131906, at *8 (N.D. Ga. July 17, 2009)
(citing Ethicon, Inc. v. Quigg, 849 F.2d 1422, 1426-27 (Fed. Cir. 1988)). Indeed,
there is a “liberal policy” in favor of granting motions to stay proceedings pending
the outcome at the Patent Office. Southwire Co. v. Cerro Wire, Inc., No. 3:08-CV-
92-JTC, 2009 U.S. Dist. LEXIS 131922, at *6-7 (N.D. Ga. May 12, 2009) (citations
omitted). This liberal policy, originally recognized in the context of stays pending

reexamination proceedings, has continued in the context of stays pending IPR
proceedings. See, e.g., AirWatch LLC v. Good Tech. Corp., No. 1:14:-CV-02281-
SCJ, Dkt. 45 at 5 (N.D. Ga. Feb. 13, 2015) (acknowledging the “liberal policy” in

favor of stays in the context of granting motion to stay pending IPR).


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      “Several courts have noted the benefits of staying infringement litigation in
the face of inter partes review,” such as disposing of the patent and ending the case;

streamlining discovery, issues, defenses, evidence and trial; encouraging settlement;
and reducing costs for the Court and the parties. See, e.g., Interface, Inc. v. Tandus
Flooring, Lie., No. 4:13-CV-46-WSD, 2013 U.S. Dist. LEXIS 158608, at *12 (N.D.

Ga. Nov. 5, 2013) (citing Tomco2 Equip. Co. v. Se. Agri-Sys., Inc., 542 F. Supp. 2d
1303, 1307 (N.D. Ga. 2008)).
      To help balance the competing interests of the parties, courts consider three

factors in deciding whether to stay litigation pending completion of the IPR: “(1)
whether discovery is complete and a trial date has been set; (2) whether a stay will
simplify the issues in the case; and (3) whether a stay would unduly prejudice or

present a tactical disadvantage to the nonmovant.” Interface, 2013 U.S. Dist. LEXIS
158608, at *13.
IV.   ARGUMENT
      A.     The Early Stage of this Litigation Favors a Stay.
      This case is still in its early stages. The parties are currently engaged in fact
discovery, but have not yet scheduled or conducted any party depositions. No expert

discovery has been taken. Further, no Markman claim construction hearing or trial
dates have been set. Cases in such early stages of litigation are well-positioned for
a stay. See, e.g., Intellectual Ventures II LLC v. SunTrust Banks, Inc., No. 1:13-cv-

02454-WSD, 2014 U.S. Dist. LEXIS 142295, at *7 (N.D. Ga. Oct. 7, 2014) (finding


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that case was “at an early stage,” favoring a stay, where neither party had moved for
summary judgment and the trial date had not been set, even though four depositions

had been taken); IP Co., LLC v. Tropos Networks, Inc., No. 1:06-CV-0585-CC, Dkt.
188 at 4 (N.D. Ga. Mar. 5, 2014) (finding that stage of the litigation weighed in favor
of a stay where no claim construction hearing or trial date had been set and the parties

had not engaged in any significant discovery, even though the case had been pending
for several years); Interface, 2013 U.S. Dist. LEXIS 158608, at *13 (granting stay
pending IPR where a trial date was not set and the case was “at a relatively early

stage,” even though discovery was “ongoing”).
      Because this litigation is in its early stages, a stay presents an opportunity for
the parties and the Court to reap maximum benefit from the pending administrative

proceedings. This factor weighs strongly in favor of granting a stay.
      B.     A Stay Will Simplify The Issues in the Case.
      This case is complicated by Cooper’s assertion of 48 claims in four patents.
The PTAB determinations will likely reduce the number of patents and claims that
need to be resolved in this litigation, thus simplifying the issues before the Court.
Because the question of the validity of all of the asserted claims is now pending

before the PTAB, and Cooper has no other causes of action, this suit could be
completely resolved during the requested stay period.          Even if only some of
Cordelia’s grounds hit the mark, and some of Cooper’s asserted patent claims

survive, the case will likely be simplified by a reduction of claims in dispute.


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      It is well-established that PTAB proceedings are an effective way to reduce
patent litigation costs and preserve judicial resources. The Patent Office’s published

statistics indicate that it has granted approximately 72% of IPR petitions. Ex. F (AIA
Progress (Mar. 31, 2017)) at 7. Once instituted, the clear majority of decisions find
the challenged claims unpatentable. In the over 1,500 final written decisions by the

PTAB, 65% invalidated every challenged claim and 81% invalidated at least one
challenged claim. Id. at 10.
      When further refined, the published statistics indicate an even greater

likelihood that the Cordelia’s IPR petitions will be successful. Some types of
patented technologies are more vulnerable than others to PTAB review. LED
downlights fall into one of those categories. Here, Cooper’s patents-in-suit are

classified in the Patent Office as “mechanical” arts, and in this category, only 10%
of the PTAB outcomes find the challenged claims patentable. Id. at 14.
      Even in the highly unlikely event that all of Cooper’s claims survive PTAB
review, judicial economy will still be served. Federal law estops Defendants from
asserting in litigation invalidity on the same grounds. “The petitioner in an inter
partes review of a claim in a patent … may not assert … in a civil action arising in

whole or in part under section 1338 of title 28 … that a claim is invalid on any ground
that the petitioner raised or reasonably could have raised during that inter partes
review.” 35 U.S.C. § 315(e)(2). This provision assures that the petitioner does not

have two bites at the patent validity apple, assuring that Courts benefit from the


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efforts before the administrative agency.
        Additionally, the PTAB provides written decisions containing not only its

conclusions but also its underlying analysis. 35 U.S.C. § 318. The reasoning and
analysis of the administrative experts may assist the Court in defining the scope of
the asserted claims. See, e.g., IP Co., LLC v. Tropos Networks, Inc., No. 1:06-CV-

00585, Dkt. 188 at 4 (N.D. Ga. Mar. 5, 2014) (granting stay where all the asserted
claims were pending before the Patent Office, either on petition for, or institution of,
IPR).

        The PTAB rulings will likely narrow the issues that need to be addressed in
fact and expert discovery, the issues to be decided in a Markman claim construction
hearing, and ultimately reduce the complexity and length of a trial. In a best-case

scenario, the rulings will result in the end of the litigation, either because all the
asserted claims are found to be invalid, or because the parties will settle in light of
the PTAB findings. If so, a great amount of unnecessary and duplicative effort in
fact and expert discovery, trial preparation and trial will be avoided. Accordingly,
this factor also weighs strongly in favor of a stay.
        C.    Granting a Stay Will Not Unduly Prejudice Cooper.

        A stay will not unduly prejudice Cooper or place it at a tactical disadvantage.
First, because of the recognized benefits of resolving disputes at the administrative
level rather than litigation, the “undue prejudice” must constitute more than the delay

due to proceeding in the Patent Office. It is well established that the mere delay


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inherent in any stay does not establish undue prejudice. Adair v. Boat Dock
Innovations, LLC, No. 1:12-cv-1930-SCJ, 2013 U.S. Dist. LEXIS 63921, at *8 (N.D.

Ga. Feb. 27, 2013) (“As to Plaintiff’s claim of prejudice caused by delay in the
resolution of this action, the general prejudice of having to wait for resolution is not
a persuasive reason to deny the motion for stay.”).

      Second, the PTAB process is relatively quick. The Patent Office is statutorily
required to grant or deny a petition for review within six months of its filing date.
See 35 U.S.C. § 314(b); 37 C.F.R. § 42.107(b) Thus, this strict schedule governing

IPRs should allay concerns regarding open-ended delay. IP Co., No. 1:06-CV-
00585, Dkt. 188 at 6.
      Third, the record in this case strongly supports that Cooper itself does not

believe that it is prejudiced by delay. It did not mark the numbers of the asserted
patents on its products prior to filing suit, even though the earliest patent issued more
than three years earlier. Ex. G (Cooper’s Response to Interrogatory No. 15) at 17
(“Plaintiff further states that its recessed LED downlight products have been
virtually marked with the patents-in-suit at least since November 10, 2016 [after the
date of suit].”); see also id. (Cooper’s Response to Interrogatory No. 16) at 18

(“Plaintiff states that there was no formal marking policy on its products at the time
they were developed and any such marking was done on an ad hoc basis.”). This
reflects Cooper’s lack of interest in asserting its purported patent rights in a timely

fashion.


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      In addition, Cooper has not sought a preliminary injunction to stop any
Cordelia commercial activity pending the litigation. This further reinforces the

conclusion that Cooper is not being irreparably harmed while the disputed
infringement and validity issues are being resolved. The “availability of money
damages is sufficient to protect plaintiff from prejudice,” and this type of suitable

relief weighs in favor of a stay. Tomco2 Equip. Co. v. Se. Agri-Sys., Inc., 542 F.
Supp. 2d 1303, 1308 (N.D. Ga. 2008); see also Ever Win Intern. Corp. v. Radioshack
Corp., 902 F. Supp. 2d 503, 511 (D. Del. 2012) (“Plaintiff never sought a preliminary

injunction, which suggests that any prejudice to Plaintiff that might result from
delaying the ultimate resolution of this dispute is not as severe as it contends.”). Any
Defendant infringement of a valid Cooper patent claim occurring during the stay

period would ultimately be compensated by money damages.
      Further, Cooper knew of Defendants’ products more than a year before
alleging that they infringed. Ex. G (Cooper’s Response to Interrogatory No. 2) at 3-
4 (“Plaintiff states to the best of its knowledge that its first knowledge of
infringement occurred in approximately March or April 2015.”). A plaintiff’s
demonstrated delay in filing a suit weighs against any claim of prejudice from a stay.

VirtualAgility Inc. v. Salesforce.com, Inc., 759 F.3d 1307, 1319 (Fed. Cir. 2014)
(holding that a one-year delay in filing indicated a lack of prejudice from a stay).
      Lastly, Cooper is not unduly prejudiced by the timing of Cordelia’s IPR

petitions. Defendants were not informed of the identity of the specific claims


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purported to be infringed until Cooper’s infringement contentions of November 16,
2016. Until then, Defendants did not know if Cooper was asserting four patent

claims or all 70 claims of the four asserted patents. It would have been wasteful of
resources to prepare petitions challenging the validity of dozens of claims that might
not have been asserted by Cooper.

      After learning of Cooper’s intent to assert such a broad array of similar claims,
Cordelia had to undertake the task of evaluating and supplementing prior art
references, analyzing the grounds for invalidity, and preparing four highly detailed

and technically supported IPR petitions. See Exs. B-E. Courts recognize that the
mere passage of time while an accused infringer engages in these activities does not
unduly prejudice the patent owner. See, e.g., GoPro, Inc. v. C&A Marketing, Inc.,

2017 WL 2591268 at *5 (N.D. Cal. June 15, 2017) (Filing of IPR 10 months after
filing of complaint did not support finding of prejudice to the plaintiff-patentee); see
also Evolutionary Intelligence LLC v. Yelp Inc., 2013 WL 6672451 at *9 (N.D. Cal.
Dec. 18, 2013) (Defendants’ filing of its IPR “exactly one year after Plaintiff served
the complaint” did not constitute undue prejudice.). Cooper was entitled to institute
this litigation under federal patent law, and Cordelia was entitled to timely invoke

the IPR process; thus, Cooper cannot complain of the rights afforded to Cordelia by
that same statutory framework. Id.
      Cooper’s complaint alleges no cause of action other than infringement of its

four patents. All the claims presented to the Court will necessarily be touched by


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the issues presented to the Patent Office. Staying this action provides substantial
benefits to the parties and the Court, and will not prejudice Cooper. This third factor

also weighs strongly in favor of granting a stay.
V.    CONCLUSION
      IPR proceedings are a recognized way to take advantage of administrative

determinations to reduce the burden and complexity of patent litigation. This case
is ideally suited to maximize the benefits of such a stay because the litigation is in a
relatively early stage. Because Cooper has asserted an unusually large number of

patent claims, 48, it is very likely that at least some of the issues in the case will be
resolved by the PTAB prior to continuing with this action. If none of Cooper’s
claims survive the PTAB proceedings, or the case settles as a result of its

determinations, no further resources will need to be expended in litigation. If not,
the dispute will still be simplified by operation of a statutory estoppel. Further,
Cooper has not demonstrated any rush to get to trial and will not be compensated for
any infringement of a valid patent occurring during the stay period. Hence, the Court
should grant this motion and stay the litigation pending resolution of the IPRs.


      This 21st day of August, 2017.

                                         Respectfully submitted,

                                         /s/ Coby S. Nixon
                                         Coby S. Nixon
                                         cnixon@taylorenglish.com

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                             Georgia Bar No. 545005
                             Seth K. Trimble
                             strimble@taylorenglish.com
                             Georgia Bar No. 851055
                             TAYLOR ENGLISH DUMA LLP
                             1600 Parkwood Circle, Suite 400
                             Atlanta, Georgia 30339
                             Phone: (770) 434-6868
                             Facsimile: (770) 434-7376

                             Lester J. Savit (pro hac vice)
                             lsavit@onellp.com
                             Paul Y. Feng (pro hac vice)
                             pfeng@onellp.com
                             Stephen M. Lobbin (pro hac vice)
                             slobbin@onellp.com
                             John E. Lord (pro hac vice)
                             jlord@onellp.com
                             One LLP
                             4000 MacArthur Boulevard
                             East Tower, Suite 500
                             Newport Beach, CA 92660
                             Phone: (949) 502-2870

                             Attorneys for Defendants




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, counsel certifies that the foregoing was prepared

in Times New Roman, 14 point font, in compliance with Local Rule 5.1C.


                                             /s/ Coby S. Nixon
                                             Coby S. Nixon
                                             Georgia Bar No. 545005
                                             Attorney for Defendants


                          CERTIFICATE OF SERVICE

      I hereby certify that on August 21, 2017, I electronically filed the foregoing

MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO STAY

LITIGATION PENDING PATENT OFFICE INTER PARTES REVIEW OF

VALIDITY OF ALL PATENTS-IN-SUIT with the Clerk of the Court using the

CM/ECF system which will automatically send e-mail notification of such filing to

all counsel of record in this action.



                                             /s/ Coby S. Nixon
                                             Coby S. Nixon
                                             Georgia Bar No. 545005
                                             Attorney for Defendants
